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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


 IN RE:

 EX PARTE APPLICATION OF SPS CORP                    Case No. 1:21-mc-00565-CFC
 I – FUNDO DE INVESTIMENTO EM
 DIREITOS CREDITÓRIOS NÃO
 PADRONIZADOS FOR AN ORDER TO
 TAKE DISCOVERY PURSUANT TO 28
 U.S.C. § 1782




                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, respondent

General Motors Company (“GM”) respectfully submits as follows:

      1.    GM is a public corporation organized and existing under the laws of

Delaware. GM has no parent corporation. No publicly-held corporation owns 10%

or more of GM’s stock.




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Dated: March 28, 2022                    Respectfully submitted,

                                         PAUL, WEISS, RIFKIND,
                                           WHARTON & GARRISON LLP

                                         By: /s/ Daniel A. Mason
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